                 Case 23-11131-TMH              Doc 805        Filed 12/01/23        Page 1 of 20




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                     Debtors.1                           (Jointly Administered)

                                                            Objections Due: December 15, 2023 at 4:00 P.M. (ET)
                                                                      Hearing Date: To be scheduled if necessary

         THIRD MONTHLY FEE APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
          PERIOD FROM OCTOBER 1, 2023 THROUGH OCTOBER 31, 2023

    Name of Applicant:                                     Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services
                                                           Debtors and Debtors in Possession
    to:
                                                           Effective as of August 9, 2023 by order signed
    Date of Retention:
                                                           September 11, 2023
    Period for which Compensation and
                                                           October 1, 2023 through October 31, 20232
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                           $3,102,586.75
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                           $140,123.28
    as Actual, Reasonable and Necessary:

This is a:          ☒monthly         ☐ interim         ☐final application.

          The total time expended for fee application preparation is approximately 6.0 hours and

the corresponding compensation requested is approximately $4,500.00.




1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.
2
     The applicant reserves the right to include any time expended in the time period indicated above in future
     application(s) if it is not included herein.


SF 4873-4191-8868.1 03703.004
                 Case 23-11131-TMH       Doc 805       Filed 12/01/23     Page 2 of 20




                                  PRIOR APPLICATIONS FILED


     Date            Period       Requested        Requested            Approved         Approved
     Filed          Covered         Fees           Expenses               Fees           Expenses
                   08.09.23 -
 11.01.23                       $1,275,515.75      $10,533.41     $1,275,515.75          $10,533.41
                   08.31.23
                   09.01.23 –
 11.22.23                       $2,256,529.50      $14,211.62           Pending          Pending
                   09.30.23

                                      PSZJ PROFESSIONALS


                                    Position of the         Hourly
                                                                           Total
   Name of Professional          Applicant, Year of      Billing Rate                   Total
                                                                           Hours
       Individual               Obtaining License to      (including                 Compensation
                                                                           Billed
                                       Practice            Changes)
 Isaac M. Pachulski             Partner, 1974             $1,995.00        30.40     $ 60,648.00
 Jeffrey H. Davidson            Partner, 1977             $1,895.00         4.00     $ 7,580.00
 Richard M. Pachulski           Partner, 1979             $1,895.00       144.70     $274,206.50
 Alan J. Kornfeld               Partner, 1987             $1,675.00       157.80     $264,315.00
 Debra I. Grassgreen            Partner, 1992             $1,550.00       195.30     $302,715.00
 Henry C. Kevane                Partner, 1986             $1,550.00       125.80     $194,990.00
 Richard J. Gruber              Counsel, 1982             $1,525.00        26.90     $ 41,022.50
 Judith Elkin                   Counsel, 1982             $1,450.00        72.00     $104,400.00
 Maxim B. Litvak                Partner, 1997             $1,445.00        48.40     $ 69,938.00
 Iain A. W. Nasatir             Partner, 1983             $1,395.00         3.10     $ 4,324.50
 Harry D. Hochman               Counsel, 1987             $1,350.00        22.00     $ 29,700.00
 James K. T. Hunter             Counsel, 1976             $1,350.00         2.60     $ 3,510.00
 Gabriel I. Glazer              Partner, 2006             $1,325.00        28.70     $ 38,027.50
 Malhar S. Pagay                Partner, 1997             $1,295.00       113.00     $146,335.00
 James E. O'Neill               Partner, 1985             $1,275.00       130.50     $166,387.50
 Jonathan J. Kim                Counsel, 1996             $1,175.00        62.60     $ 73,555.00
 Victoria A. Newmark            Counsel, 1996             $1,175.00         1.50     $ 1,762.50
 John W. Lucas                  Partner, 2005             $1,150.00         3.40     $ 3,910.00
 Beth E. Levine                 Counsel, 1992             $1,095.00        64.00     $ 70,080.00
 Gina F. Brandt                 Counsel, 1976             $1,050.00         0.90     $    945.00
 Jason H. Rosell                Partner, 2010               $995.00        77.20     $ 76,814.00
 Gillian N. Brown               Counsel, 1999               $975.00        27.40     $ 26,715.00
 William L. Ramseyer            Counsel, 1980               $975.00         0.20     $    195.00
 Richard M. Pachulski           Partner, 1979               $947.50        12.30     $ 11,654.25
 Miriam Manning                 Counsel, 1995               $925.00        13.90     $ 12,857.50


SF 4873-4191-8868.1 03703.004                    5
                 Case 23-11131-TMH          Doc 805      Filed 12/01/23   Page 3 of 20




                                      Position of the         Hourly
                                                                           Total
   Name of Professional            Applicant, Year of      Billing Rate                  Total
                                                                           Hours
       Individual                 Obtaining License to      (including                Compensation
                                                                           Billed
                                         Practice            Changes)
 Steven W. Golden                 Partner, 2015               $895.00     184.20      $164,859.00
 Debra I. Grassgreen              Partner, 1992               $775.00      11.30      $ 8,757.50
 Edward A. Corma                  Associate, 2018             $725.00      28.90      $ 20,952.50
 Leslie A. Forrester              Library                     $595.00       4.10      $ 2,439.50
 Beth E. Levine                   Counsel, 1992               $547.50       3.50      $ 1,916.25
 Lisa H. Petras                   Paralegal                   $545.00      23.10      $ 12,589.50
 Patricia J. Jeffries             Paralegal                   $545.00      92.30      $ 50,303.50
 Cheryl A. Knotts                 Paralegal                   $495.00       0.70      $    346.50
 Andrea R. Paul                   Case Mgmt. Assistant        $425.00      12.00      $ 5,100.00
 Charles J. Bouzoukis             Case Mgmt. Assistant        $425.00       6.30      $ 2,677.50

                                        Grand Total: $3,102,586.75
                                        Total Hours:      2,535.60
                                        Blended Rate:    $1,223.61

                                   COMPENSATION BY CATEGORY

                            Project Categories                  Total Hours         Total Fees
        Appeals                                                       3.70          $ 5,103.00
        Asset Analysis and Recovery                                  29.90          $ 30,805.50
        Asset Disposition                                            69.30          $ 75,801.00
        Avoidance Action Analysis                                     0.70          $    918.50
        Bankruptcy Litigation                                       815.50          $935,816.00
        Case Administration                                         123.90          $113,652.00
        Claims Administration and Objections                        116.90          $165,679.50
        Contract and Lease Matters                                  243.60          $315,067.00
        Corporate Governance                                         13.40          $ 23,264.50
        Financial Filings                                             2.10          $ 2,239.50
        Financing/Cash Collateral/Cash Management                   423.60          $537,860.00
        General Creditors' Committee                                  4.40          $ 5,493.00
        Hearings                                                      4.40          $ 3,990.00
        Insurance Coverage                                            6.60          $ 9,171.00
        Litigation (Non-Bankruptcy)                                   4.80          $ 3,200.00
        Meetings of and Communications with Creditors                 7.10          $ 7,897.50
        Non-Working Travel                                           35.50          $ 29,721.75
        Operations                                                    6.70          $ 7,643.50
        Other Professional Compensation                              10.10          $ 7,771.50
        Other Professional Retention                                207.40          $274,105.50


SF 4873-4191-8868.1 03703.004                      6
                 Case 23-11131-TMH              Doc 805        Filed 12/01/23        Page 4 of 20




                       Project Categories                                Total Hours             Total Fees
        Plan and Disclosure Statement                                        364.50              $502,494.50
        PSZJ Compensation                                                     15.70              $ 11,253.00
        PSZJ Retention                                                         9.00              $ 11,805.00
        Stay Litigation                                                        7.30              $ 5,921.50
        Travel                                                                 9.50              $ 15,912.50
        Totals                                                             2,535.60            $3,102,586.75

                                             EXPENSE SUMMARY


                                                                Service Provider3                      Total
                 Expense Category
                                                                  (if applicable)                     Expenses
    Air Fare                                            American Airlines, United
                                                                                                       $8,252.39
                                                        Airlines
    Auto Travel Expense                                 A&H Transportation, DE Limo
                                                        Service, Lyft, KLS Worldwide,                  $3,235.06
                                                        Uber
    Bloomberg                                                                                          $237.70
    Delivery/Courier Service                            Parcel                                        $2,235.12
    Federal Express                                                                                    $296.33
    Hotel Expense                                       DuPont DE                                    $11,304.40
    Lexis/Nexis- Legal Research                                                                       $1,594.23
    Litigation Support Vendors                          CL@S, KLDiscovery, Everlaw,
                                                                                                     $80,287.43
                                                        Expert witness testimony
    Pacer - Court Research                                                                            $1,917.10
    Reproduction Expense - @0.10 per page                                                             $5,058.70
    Transcript                                          Escribers, Reliable, Veritext                $23,127.69
    Travel Expense                                      United WiFi                                      $46.00
    Working Meals                                       Bardea Garden Restaurant,
                                                                                                       $2,531.13
                                                        Chickies & Petes, Starbucks
    Total                                                                                           $140,123.28




3
     PSZJ may use one or more service providers. The service providers identified herein below are the primary service
     providers for the categories described.


SF 4873-4191-8868.1 03703.004                              7
                 Case 23-11131-TMH             Doc 805        Filed 12/01/23       Page 5 of 20




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                  Chapter 11

AMYRIS, INC., et al.,                                                   Case No. 23-11131 (TMH)

                                    Debtors.1                           (Jointly Administered)

                                                           Objections Due: December 15, 2023 at 4:00 P.M. (ET)
                                                                     Hearing Date: To be scheduled if necessary

         THIRD MONTHLY FEE APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION, FOR THE
          PERIOD FROM OCTOBER 1, 2023 THROUGH OCTOBER 31, 2023

          Pursuant to sections 330 and 331 of Title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the “Bankruptcy

Rules”) and this Court’s Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses of Professionals, entered on September 14, 2023 [Docket No. 279]

(the “Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), counsel

for the debtors and debtors in possession (“Debtors”), hereby submits its Third Monthly

Application for Compensation and for Reimbursement of Expenses for the Period from October 1,

2023 through October 31, 2023 (the “Application”).

          By this Application PSZJ seeks a monthly interim allowance of compensation in the

amount of $3,102,586.75 and actual and necessary expenses in the amount of $140,123.28 for a

total allowance of $3,242,710.03 and payment of $2,482,069.40 (80% of the allowed fees) and




1
     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.



SF 4873-4191-8868.1 03703.004
                 Case 23-11131-TMH          Doc 805     Filed 12/01/23    Page 6 of 20




reimbursement of $140,123.28 (100% of the allowed expenses) for a total payment of

$2,622,192.68 for the period October 1, 2023 through October 31, 2023 (the “Fee Period”):

                                               Background

          1.        On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each Debtor

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code (the “Chapter 11

Cases”). The Debtors are operating their businesses and managing their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

          2.        On August 27, 2023, the Office of the United States Trustee (the “U.S. Trustee”)

appointed the Official Committee of Unsecured Creditors (the “Committee”), consisting of the

following seven members:           (i) Cosan U.S. Inc., (ii) U.S. Bank Trust Company, National

Association as Trustee, (iii) Sartorius Stedim North America, Inc., (iv) Hearst Magazine Media,

Inc., (v) Wiley Companies, (vi) Park Wynwood, LLC, and (vii) Allog Participacoes, Ltda. See

Docket No. 152.

          3.        The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

          4.        On September 14, 2023, the Court entered the Administrative Order, authorizing

estate professionals (“Professionals”) to submit applications for interim compensation and

reimbursement for expenses, pursuant to the procedures specified therein. The Administrative

Order provides, among other things, that a Professional may submit monthly fee applications. If

no objections are made within fourteen (14) days after service of the monthly fee application the

Debtors are authorized to pay the Professional eighty percent (80%) of the requested fees and one

hundred percent (100%) of the requested expenses. Beginning with the period ending March 31,

2023, and at three-month intervals or such other intervals convenient to the Court, each of the




SF 4873-4191-8868.1 03703.004                       2
                 Case 23-11131-TMH         Doc 805      Filed 12/01/23    Page 7 of 20




Professionals may file and serve an interim application for allowance of the amounts sought in its

monthly fee applications for that period. All fees and expenses paid are on an interim basis until

final allowance by the Court.

          5.        The retention of PSZJ, as counsel for the Debtors, was approved effective as of

August 9, 2023 by this Court’s Order Authorizing the Employment and Retention of Pachulski

Stang Ziehl & Jones LLP as Counsel for the Debtors Effective as of the Petition Date, entered on

September 11, 2023 (the “Retention Order”). The Retention Order authorized PSZJ to be

compensated on an hourly basis and to be reimbursed for actual and necessary out-of-pocket

expenses.

                         PSZJ’s APPLICATION FOR COMPENSATION AND
                              FOR REIMBURSEMENT OF EXPENSES

                                   Compensation Paid and Its Source

          6.        All services for which PSZJ requests compensation were performed for or on behalf

of the Debtors, and not on behalf of any committee, creditor or other person.

          7.        PSZJ, and any partner, of counsel, or associate thereof, have received no payment

and no promises for payment from any source other than from the Debtors for services rendered

or to be rendered in any capacity whatsoever in connection with the matters covered by this

Application. There is no agreement or understanding between PSZJ and any other person other

than among the partners, of counsel, or associates of PSZJ for the sharing of compensation to be

received for services rendered in these cases. PSZJ has received payments from the Debtors during

the year prior to the Petition Date in the amount of $1,874,692.00 in connection with the

preparation of initial documents and its prepetition representation of the Debtors. PSZJ has applied

all prepetition payments to all outstanding prepetition fees and expenses.




SF 4873-4191-8868.1 03703.004                       3
                 Case 23-11131-TMH         Doc 805     Filed 12/01/23     Page 8 of 20




          8.        The professional services and related expenses for which PSZJ requests interim

allowance of compensation and reimbursement of expenses were rendered and incurred in

connection with these cases in the discharge of PSZJ’s professional responsibilities as attorneys

for the Debtors in these chapter 11 cases. PSZJ’s services have been necessary and beneficial to

the Debtors and their estates, creditors and other parties in interest.

                                            Fee Statements

          9.        The invoice for the Fee Period is attached hereto as Exhibit A. This statement

contains daily time logs describing the time spent by each attorney and paraprofessional during

the Interim Period. To the best of PSZJ’s knowledge, this Application complies with sections 330

and 331 of the Bankruptcy Code, the Bankruptcy Rules and the Administrative Order. PSZJ’s

time reports are initially handwritten or directly entered in the billing system, by the attorney or

paralegal performing the described services. The time reports are organized on a daily basis. PSZJ

is particularly sensitive to issues of “lumping” and, unless time was spent in one time frame on a

variety of different matters for a particular client, separate time entries are set forth in the time

reports. PSZJ’s charges for its professional services are based upon the time, nature, extent and

value of such services and the cost of comparable services other than in a case under the

Bankruptcy Code. To the extent it is feasible, PSZJ professionals attempt to work during travel.

                                    Actual and Necessary Expenses

          10.       A summary of the actual and necessary expenses incurred by PSZJ for the Fee

Period is attached hereto as part of Exhibit A. PSZJ customarily charges $0.10 per page for

photocopying expenses related to cases, such as this, arising in Delaware. PSZJ’s photocopying

machines automatically record the number of copies made when the person that is doing the




SF 4873-4191-8868.1 03703.004                      4
                 Case 23-11131-TMH           Doc 805      Filed 12/01/23    Page 9 of 20




copying enters the client’s account number into a device attached to the photocopier. PSZJ

summarizes each client’s photocopying charges on a daily basis.

          11.       PSZJ charges $0.25 per page for out-going facsimile transmissions. There is no

additional charge for long distance telephone calls on faxes. The charge for outgoing facsimile

transmissions reflects PSZJ’s calculation of the actual costs incurred by PSZJ for the machines,

supplies and extra labor expenses associated with sending telecopies and is reasonable in relation

to the amount charged by outside vendors who provide similar services. PSZJ does not charge the

Debtor for the receipt of faxes in this case.

          12.       With respect to providers of on-line legal research services (e.g., LEXIS and

WESTLAW), PSZJ charges the standard usage rates these providers charge for computerized legal

research. PSZJ bills its clients the actual amounts charged by such services, with no premium.

Any volume discount received by PSZJ is passed on to the client.

          13.       PSZJ believes the foregoing rates are the market rates that the majority of law firms

charge clients for such services. In addition, PSZJ believes that such charges are in accordance

with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s Statement of

Principles, dated January 12, 1995, regarding billing for disbursements and other charges.

                                     Summary of Services Rendered

          14.       The names of the timekeepers of PSZJ who have rendered professional services in

this case during the Interim Period are set forth in the attached Exhibit A. PSZJ, by and through

such persons, has prepared and assisted in the preparation of various motions and orders submitted

to the Court for consideration, advised the Debtors on a regular basis with respect to various

matters in connection with the Debtor’s case, and performed all necessary professional services




SF 4873-4191-8868.1 03703.004                         5
                Case 23-11131-TMH         Doc 805       Filed 12/01/23   Page 10 of 20




which are described and narrated in detail below. PSZJ’s efforts have been extensive due to the

size and complexity of the Debtors’ cases.

                                    Summary of Services by Project

          15.       The services rendered by PSZJ during the Fee Period can be grouped into the

categories set forth below. PSZJ attempted to place the services provided in the category that best

relates to such services. However, because certain services may relate to one or more categories,

services pertaining to one category may in fact be included in another category. These services

performed, by categories, are generally described below, with a more detailed identification of the

actual services provided set forth on the attached Exhibit A. Exhibit A identifies the attorneys

and paraprofessionals who rendered services relating to each category, along with the number of

hours for each individual and the total compensation sought for each category.

A.        Asset Analysis and Recovery

          16.       During the Fee Period, the Firm, among other things, (i) reviewed and analyzed

complex intellectual property issues; (ii) reviewed and analyzed documents in connection with the

Novvi transaction, and conferred with counsel regarding strategy; and (iii) prepared and obtained

approval of a motion to authorize consent to enter into the Novvi transaction.

                                  Fees: $30,805.50        Hours: 29.90

B.        Avoidance Action Analysis

          17.       During the Fee Period, the Firm conferred with the Debtors’ advisors regarding

preference analyses.

                                   Fees: $918.50           Hours: .70




SF 4873-4191-8868.1 03703.004                       6
                Case 23-11131-TMH         Doc 805        Filed 12/01/23   Page 11 of 20




C.        Asset Disposition

          18.       During the Fee Period, the Firm, among other things, (i) addressed sale and bid

related issues in connection with the Onda assets; (ii) attended the Onda auction; (iii) conferred

with estate professionals regarding Costa Brazil sale related issues; (iv) reviewed and analyzed the

Costa Brazil APA and related sale documents; (v) conferred with counsel regarding stalking horse

bids and sale-related strategies; (vi) participated in weekly sale process update calls; (vii) prepared

and obtained approval on a motion to abandon inventory; and (viii) addressed sale timeline issues.

                                  Fees: $75,801.00         Hours: 69.30

D.        Appeals

          19.       During the Fee Period, the Firm, among other things, conferred with counsel

regarding Lavvan’s appeal and go forward strategy.

                                   Fees: $5,103.00         Hours: 3.70

E.        Bankruptcy Litigation

          20.       During the Fee Period, the Firm, among other things, (i) reviewed and analyzed

potential litigation and investigation issues; (ii) reviewed, analyzed and prepared responses to

discovery requests propounded by the Committee; (iii) participated in calls with estate

professionals regarding discovery requests and litigation issues; (iv) reviewed and produced

documents in response to formal and informal document requests; (v) maintained a virtual data

room; (vi) prepared for hearings; (vii) prepared hearing agendas; (viii) prepared trial subpoenas;

and (ix) reviewed and analyzed Lavvan’s adversary complaint.

                                  Fees: $935,816.00       Hours: 815.50




SF 4873-4191-8868.1 03703.004                        7
                Case 23-11131-TMH          Doc 805       Filed 12/01/23   Page 12 of 20




F.        Case Administration

          21.       During the Fee Period, the Firm, among other things, (i) reviewed correspondence

and pleadings and forwarded them to appropriate parties; (ii) maintained a calendar of critical dates

and deadlines, (iii) discussed, reviewed, and followed up on various open case issues, (iv)

participated in weekly case strategy calls; and (v) prepared hearing agendas.

                                   Fees: $113,652.00      Hours: 123.90

G.        Claims Administration and Objections

          22.       During the Fee Period, the Firm, among other things: (i) coordinated service of the

bar date motion upon all creditors; (ii) conferred with counsel regarding Lavvan claim issues; and

(iii) performed a lien analysis in connection with the Lavvan claims.

                                   Fees: $165,679.50      Hours: 116.90

H.        Corporate Governance

          23.       During the Fee Period, the Firm, among other things, (i) prepared for and attended

regular board meetings; (ii) conferred with counsel regarding board issues; (iii) reviewed and

analyzed board minutes; (iv) prepared for and attended regular restructuring committee meetings;

and (v) addressed governance issues.

                                   Fees: $23,264.50        Hours: 13.40

I.        Contract and Lease Matters

          24.       During the Fee Period, the Firm, among other things, (i) prepared and obtained

approval of a motion to extend lease and contract rejection deadlines; (ii) addressed discovery

requests in connection with a motion to reject under Bankruptcy Code section 365(n); (iii)

conferred with counsel regarding DSM Firmenich issues; (iv) engaged in negotiations with DSM




SF 4873-4191-8868.1 03703.004                        8
                Case 23-11131-TMH          Doc 805        Filed 12/01/23   Page 13 of 20




Firmenich and Givaudan; (v) reviewed and analyzed term sheets in connection with DSM

Firmenich and Givaudan; and (vi) reviewed and analyzed escrow agreements.

                                   Fees: $315,067.00       Hours: 234.60

J.        Financial Filings

          25.       During the Fee Period, the Firm, among other things, reviewed, analyzed, and

assisted the Debtors with the preparation and filing of the monthly operating reports.

                                    Fees: $2,239.50         Hours: 2.10

K.        Financing/Cash Collateral/Cash Management

          26.       During the Fee Period, the Firm, among other things, (i) conferred with estate

professionals regarding status update of Lavvan’s objection to Debtor in possession financing

(“DIP”); (ii) conferred with estate professionals regarding DIP issues; (iii) performed research and

prepared a reply brief in connection with Lavvan dispute; (iv) prepared for and attended various

depositions in connection with the Lavvan dispute; (v) prepared for and attended the trial on the

Lavvan DIP dispute; (vi) reviewed, analyzed and provided comments to an adequate protection

stipulation with DSM Firmenich; and (vii)reviewed and analyzed variance reports.

                                   Fees: $537,860.00       Hours: 423.60

L.        General Creditors’ Committee

          27.       During the Fee Period, the Firm, among other things, participated in calls with the

Committee and the ad hoc noteholders group regarding overall case issues and work streams and

prepared a non-disclosure agreement with the bondholders.

                                    Fees: $5,493.00         Hours: 4.40




SF 4873-4191-8868.1 03703.004                         9
                Case 23-11131-TMH          Doc 805       Filed 12/01/23   Page 14 of 20




M.        Hearings

          28.       During the Fee Period, the Firm, among other things, prepared for and attended the

various hearings held during the Fee Period.

                                    Fees: $3,990.00        Hours: 4.40

N.        Insurance Coverage

          29.       During the Fee Period, the Firm, among other things, reviewed and analyzed the

Debtors’ insurance policies and conferred with counsel regarding same.

                                    Fees: $9,171.00        Hours: 6.60

O.        Litigation (Non-Bankruptcy)

          30.       During the Fee Period, the Firm, among other things, continued preparation of a

motion to extend the deadline to remove cases to District Court.

                                    Fees: $3,200.00        Hours: 4.80

P.        Meetings of and Communications with Creditors

          31.       During the Fee Period, the Firm, among other things, prepared for and attended the

341(a) meeting of creditors.

                                    Fees: $7,897.50        Hours: 7.10

Q.        Non-Working Travel

          32.       During the Fee Period, the Firm incurred time while traveling on case matters.

Non-working travel time is billed at one-half the normal hourly rate.

                                   Fees: $29,271.75        Hours: 35.50




SF 4873-4191-8868.1 03703.004                       10
                Case 23-11131-TMH              Doc 805         Filed 12/01/23   Page 15 of 20




R.        Operations

          33.       During the Fee Period, the Firm, among other things, addressed critical vendor

issues and negotiated and prepared critical vendor agreements, and addressed various business

operational issues.

                                        Fees: $7,643.50          Hours: 6.70

S.        Other Professional Compensation

                    34.         During the Fee Period, the Firm, among other things, assisted the Debtors’

professionals with the preparation and filing of their monthly fee applications, coordinated

professional fee payments and maintained a professional fee reserve tracking chart.

                                        Fees: $7,771.50          Hours: 10.10

T.        Other Professional Retention

          35.       During the Fee Period, the Firm, among other things, (i) assisted ordinary course

professionals with the preparation and filing of their disclosure declarations; (ii) prepared

certifications of counsel and proposed orders regarding various retention applications; (iii)

reviewed and analyzed issues in connection with Jefferies retention application, performed

research and continued preparation of an objection thereto; (iv) prepared a motion to continue the

contested hearing on Jefferies retention application; (v) reviewed discovery responses in

connection with Jefferies retention; (vi) prepared an application to employ an expert report in

connection with Jefferies retention; (vii) prepared a supplemental brief in connection with Jefferies

retention; (viii) prepared for and attended depositions in connection with Jefferies retention; and

(ix) conferred with the Debtors’ professionals regarding Jefferies issues and strategies.

                                       Fees: $274,105.50        Hours: 207.40




SF 4873-4191-8868.1 03703.004                             11
                Case 23-11131-TMH          Doc 805      Filed 12/01/23   Page 16 of 20




U.        Plan and Disclosure Statement

          36.       During the Fee Period, the Firm, among other things, (i) reviewed and analyzed

plan issues; (ii) reviewed and revised proposed term sheets; and (iii) conferred with estate

professionals regarding plan issues and strategies; (iv) continued work on a proposed plan and

disclosure statement and solicitation procedures motion; and (v) participated in plan status update

calls with estate professionals.

                                  Fees: $502,494.50      Hours: 364.50

V.        PSZJ Compensation

          37.       During the Fee Period, the Firm, among other things, prepared a supplemental

disclosure to its retention application.

                                   Fees: $11,253.00       Hours: 15.70

W.        PSZJ Retention

          38.       During the Fee Period, among other things, prepared a supplemental disclosure to

its retention application.

                                Fees: $11,805.00             Hours: 9.00

X.        Stay Litigation

          39.       During the Fee Period, the Firm, among other things, reviewed and analyzed

various stay relief issues and prepared correspondence in connection therewith.

                                   Fees: $5,921.50        Hours: 7.30

Y.        Travel

          40.       During the Fee Period, the Firm incurred billable time preparing for the Gaul

deposition while traveling on case matters.

                                   Fees: $15,912.50       Hours: 9.50




SF 4873-4191-8868.1 03703.004                      12
                Case 23-11131-TMH        Doc 805      Filed 12/01/23   Page 17 of 20




                                        Valuation of Services

          41.       Attorneys and paraprofessionals of PSZJ expended a total 2,535.60 hours in

connection with their representation of the Debtors during the Fee Period, as follows:


                                    Position of the        Hourly
                                                                        Total
   Name of Professional          Applicant, Year of     Billing Rate                   Total
                                                                        Hours
       Individual               Obtaining License to     (including                 Compensation
                                                                        Billed
                                       Practice           Changes)
 Isaac M. Pachulski             Partner, 1974            $1,995.00      30.40       $ 60,648.00
 Jeffrey H. Davidson            Partner, 1977            $1,895.00       4.00       $ 7,580.00
 Richard M. Pachulski           Partner, 1979            $1,895.00     144.70       $274,206.50
 Alan J. Kornfeld               Partner, 1987            $1,675.00     157.80       $264,315.00
 Debra I. Grassgreen            Partner, 1992            $1,550.00     195.30       $302,715.00
 Henry C. Kevane                Partner, 1986            $1,550.00     125.80       $194,990.00
 Richard J. Gruber              Counsel, 1982            $1,525.00      26.90       $ 41,022.50
 Judith Elkin                   Counsel, 1982            $1,450.00      72.00       $104,400.00
 Maxim B. Litvak                Partner, 1997            $1,445.00      48.40       $ 69,938.00
 Iain A. W. Nasatir             Partner, 1983            $1,395.00       3.10       $ 4,324.50
 Harry D. Hochman               Counsel, 1987            $1,350.00      22.00       $ 29,700.00
 James K. T. Hunter             Counsel, 1976            $1,350.00       2.60       $ 3,510.00
 Gabriel I. Glazer              Partner, 2006            $1,325.00      28.70       $ 38,027.50
 Malhar S. Pagay                Partner, 1997            $1,295.00     113.00       $146,335.00
 James E. O'Neill               Partner, 1985            $1,275.00     130.50       $166,387.50
 Jonathan J. Kim                Counsel, 1996            $1,175.00      62.60       $ 73,555.00
 Victoria A. Newmark            Counsel, 1996            $1,175.00       1.50       $ 1,762.50
 John W. Lucas                  Partner, 2005            $1,150.00       3.40       $ 3,910.00
 Beth E. Levine                 Counsel, 1992            $1,095.00      64.00       $ 70,080.00
 Gina F. Brandt                 Counsel, 1976            $1,050.00       0.90       $    945.00
 Jason H. Rosell                Partner, 2010              $995.00      77.20       $ 76,814.00
 Gillian N. Brown               Counsel, 1999              $975.00      27.40       $ 26,715.00
 William L. Ramseyer            Counsel, 1980              $975.00       0.20       $    195.00
 Richard M. Pachulski           Partner, 1979              $947.50      12.30       $ 11,654.25
 Miriam Manning                 Counsel, 1995              $925.00      13.90       $ 12,857.50
 Steven W. Golden               Partner, 2015              $895.00     184.20       $164,859.00
 Debra I. Grassgreen            Partner, 1992              $775.00      11.30       $ 8,757.50
 Edward A. Corma                Associate, 2018            $725.00      28.90       $ 20,952.50
 Leslie A. Forrester            Library                    $595.00       4.10       $ 2,439.50
 Beth E. Levine                 Counsel, 1992              $547.50       3.50       $ 1,916.25
 Lisa H. Petras                 Paralegal                  $545.00      23.10       $ 12,589.50


SF 4873-4191-8868.1 03703.004                    13
                Case 23-11131-TMH         Doc 805       Filed 12/01/23   Page 18 of 20




                                   Position of the           Hourly
                                                                          Total
   Name of Professional          Applicant, Year of       Billing Rate                   Total
                                                                          Hours
       Individual               Obtaining License to       (including                 Compensation
                                                                          Billed
                                       Practice             Changes)
 Patricia J. Jeffries           Paralegal                    $545.00      92.30       $ 50,303.50
 Cheryl A. Knotts               Paralegal                    $495.00       0.70       $    346.50
 Andrea R. Paul                 Case Mgmt. Assistant         $425.00      12.00       $ 5,100.00
 Charles J. Bouzoukis           Case Mgmt. Assistant         $425.00       6.30       $ 2,677.50

                                       Grand Total: $3,102,586.75
                                       Total Hours:      2,535.60
                                       Blended Rate:    $1,223.60

          42.       The nature of work performed by these persons is fully set forth in Exhibit A

attached hereto. These are PSZJ’s normal hourly rates for work of this character. The reasonable

value of the services rendered by PSZJ for the Debtors during the Fee Period is $3,102,586.75.

          43.       In accordance with the factors enumerated in section 330 of the Bankruptcy Code,

it is respectfully submitted that the amount requested by PSZJ is fair and reasonable given (a) the

complexity of the case, (b) the time expended, (c) the nature and extent of the services rendered,

(d) the value of such services, and (e) the costs of comparable services other than in a case under

the Bankruptcy Code. Moreover, PSZJ has reviewed the requirements of Del. Bankr. LR 2016-2

and the Administrative Order signed on or about September 14, 2023 and believes that this

Application complies with such Rule and Order.

          WHEREFORE, PSZJ respectfully requests that the Court enter an order providing that, for

the period of October 1, 2023 through October 31, 2023, an interim allowance be made to PSZJ

for compensation in the amount of $3,102,586.75 and actual and necessary expenses in the amount

of $140,123.28 for a total allowance of $3,242,710.03 and payment of $2,482,069.40 (80% of the

allowed fees) and reimbursement of $140,123.28 (100% of the allowed expenses) for a total

payment of $2,622,192.68; and for such other and further relief as this Court deems proper.




SF 4873-4191-8868.1 03703.004                      14
                Case 23-11131-TMH   Doc 805    Filed 12/01/23    Page 19 of 20




 Dated: December 1, 2023                      PACHULSKI STANG ZIEHL & JONES LLP

                                              /s/ James E. O’Neill
                                              Richard M. Pachulski (admitted pro hac vice)
                                              Debra I. Grassgreen (admitted pro hac vice)
                                              James E. O’Neill (DE Bar No. 4042)
                                              Jason H. Rosell (admitted pro hac vice)
                                              Steven W. Golden (DE Bar No. 6807)
                                              919 N. Market Street, 17th Floor
                                              P.O. Box 8705
                                              Wilmington, DE 19899-8705 (Courier 19801)
                                              Telephone: (302) 652-4100
                                              Facsimile: (302) 652-4400
                                              Email: rpachulski@pszjlaw.com
                                                      dgrassgreen@pszjlaw.com
                                                      joneill@pszjlaw.com
                                                      jrosell@pszjlaw.com
                                                      sgolden@pszjlaw.com

                                              Counsel to the Debtors and Debtors in Possession




SF 4873-4191-8868.1 03703.004             15
                Case 23-11131-TMH           Doc 805     Filed 12/01/23     Page 20 of 20




                                             DECLARATION


STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :

          James E. O’Neill, after being duly sworn according to law, deposes and says:

          a)        I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones LLP,

and am admitted to appear before this Court.

          b)        I am familiar with the legal services rendered by PSZJ as counsel to the

Committee.

          c)        I have reviewed the foregoing Application and the facts set forth therein are true

and correct to the best of my knowledge, information and belief. Moreover, I have reviewed

Del. Bankr. LR 2016-2, the Administrative Order signed on or about September 14, 2023 and

submit that the Application substantially complies with such rule and orders.


                                                          /s/ James E. O’Neill
                                                           James E. O’Neill




SF 4873-4191-8868.1 03703.004
